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4                                  UNITED STATES DISTRICT COURT

5                           FOR THE EASTERN DISTRICT OF CALIFORNIA

6
     UNITED STATES OF AMERICA,                                1:10-cr-00323 LJO
7
                             Plaintiff,                       ORDER REFERRING CASE TO
8                                                             OFFICE OF FEDERAL DEFENDER
                       v.                                     (Doc. 97)
9
     Donaciano Rosales-Magana,
10
                             Defendant.
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12
            On December 19, 2014, Donaciano Rosales-Magana (“Defendant”) filed a motion for
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     appointment of counsel pursuant to 18 U.S.C. § 3006A, seeking counsel to aid him in filing a motion to
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     reduce his sentence pursuant to 18 U.S.C. § 3582(c)(2) and Amendment 782 to the United States
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     Sentencing Commission Guidelines (“§ 3582 Motion”). Doc. 97. There is no statutory or constitutional
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     right to counsel for a § 3582 Motion. United States v. Webb, 565 F.3d 789, 795 (11th Cir. 2009).
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     Nevertheless, pursuant to Eastern District of California General Order 546, this Court automatically
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     refers pro se motions filed pursuant to § 3582 to the Office of the Federal Defender. In this case,
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     although no pro se petition has been filed, Defendant’s motion for appointment of counsel raises the
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     issue with enough specificity to trigger General Order 546. Defendant’s eligibility for relief under
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     Amendment 782 can be readily ascertained from the record. Accordingly, this case is referred to the
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     Office of the Federal Defender, so that Office can determine whether Defendant is eligible for relief,
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     and, if so, may enter an appearance on Defendant’s behalf.
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            The Federal Defender shall elect whether or not to enter an appearance on Defendant’s behalf on
25
     or before February 18, 2015. If the Federal Defender enters an appearance on Defendant’s behalf, the
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              Case 1:10-cr-00323-LJO
     Federal Defender                        Document
                      shall file a formal § 3582        99 orFiled
                                                 motion on   before01/16/15
                                                                    March 18,Page
                                                                             2015. 2Ifof
                                                                                       the2 Federal Defender
1

2    does not enter an appearance on Defendant’s behalf, Defendant is free to file a pro se § 3582 Motion.

3           The Clerk of Court is directed to serve a copy of this order on the Federal Defender’s Office and

4    the United States Attorney’s Office.

5    IT IS SO ORDERED.

6       Dated:     January 16, 2015                         /s/ Lawrence J. O’Neill
                                                      UNITED STATES DISTRICT JUDGE
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